                   IN THE UNITED STATES DISTRICT COURT FOR
                   THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION

MEGAN COLONEL, individually and on            )
behalf of all others similarly situated,      )
                                              )
              Plaintiff,                      )
                                              )
v.                                            )            Civil Action No. 5:23-cv-00006
                                              )
                                              )            UNOPPOSED MOTION FOR
                                              )            EXTENSION OF TIME
TESLA, INC.; TESLA LEASE TRUST;               )
TESLA FINANCE LLC.                            )
                                              )
              Defendants.                     )

 DEFENDANTS TESLA, INC. AND TESLA LEASE TRUST’S UNOPPOSED MOTION
         TO EXTEND DEADLINE TO RESPOND TO COMPLAINT

       Defendants Tesla, Inc. and Tesla Lease Trust (collectively, “Defendants”) respectfully

move this Court for an extension of time to answer or otherwise respond to the Complaint. In

support of this unopposed motion, Defendants state as follows:

       1.     Plaintiff Megan Colonel filed a class action complaint in this Court on January 9,

2023. See Complaint, ECF No. 1.

       2.     Defendants’ registered agents were served with the Complaint on January 13, 2023,

which means that a response to the Complaint was due by February 3, 2023. See Fed. R. Civ. P.

12(a)(1)(A)(i). As of this filing, Defendant Tesla Finance LLC has not yet been served.

       3.     After service of the Complaint—and before the February 3 response deadline—

Defendants and counsel for Plaintiff conferred regarding an extension of time to respond to

Plaintiff’s Complaint. Defendants requested until March 14, 2023 to respond to the Complaint,

and counsel for Plaintiff agreed with this request and confirmed the agreement in a January 30,

2023 email.



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       4.      Proof of service for Tesla, Inc. and Tesla Lease Trust was not filed until February

9, 2023. See ECF Nos. 7, 8.

       5.      Pursuant to Local Rule 6.1(a), Defendants submit that good cause exists for the

requested extension. Defendants only recently retained the undersigned counsel for this matter,

who did not learn until February 9 that Defendants were served on January 13 and had obtained

agreement from Plaintiff’s counsel for an extension. After learning of the date of service, the

undersigned counsel promptly filed this Motion to secure the extension pursuant to the parties’

agreement.

       6.      Defendants respectfully submit that these circumstances qualify as excusable

neglect pursuant to Fed. R. Civ. P. 6(b)(1)(B); see Butler v. United States, No. 5:20-CV-480-BO,

2021 WL 1095306, at *1 (E.D.N.C. Mar. 22, 2021) (Boyle, J.) (“Where a motion to extend time

is filed after the deadline for filing has expired, the moving party must show excusable neglect.”).

“In determining whether neglect is excusable, the court must consider the danger of prejudice to

the non-moving party, the length of the delay and its potential impact on judicial proceedings, the

reason for the delay, including whether it was within the reasonable control of the movant, and

whether the movant acted in good faith.” McClary v. Lightsey, No. 5:16-CT-3052-BO, 2018 WL

9849553, at *2 (E.D.N.C. June 20, 2018) (Boyle, J.).

       7.      Here, the neglect in timely seeking an extension is excusable. Defendants and

Plaintiffs’ counsel reached agreement as to the extension before the February 3 deadline for

responding to the Complaint. The failure to file this Motion before that date was therefore not due

to bad faith. See Walker v. Durham, No. 5:12-CT-3186-BO, 2014 WL 4728719, at *4 (E.D.N.C.

Sept. 23, 2014) (Boyle, J.) (finding excusable neglect where “short delay” was “inadvertent and

certainly there [was] no showing of bad faith”). In addition, Defendants only recently retained




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counsel and would suffer significant prejudice if they could not properly respond to the Complaint,

including by seeking to compel arbitration of Plaintiff’s claims. 1 See Malmgren v. Malmgren, No.

5:18-CV-287-BO, 2019 WL 5092447, at *1 (E.D.N.C. Apr. 1, 2019) (Boyle, C.J.) (finding that

“failure to timely request an extension” was due to excusable neglect where moving party only

“recently obtained” counsel and would “suffer great prejudice” absent an extension). And

Plaintiff’s counsel’s consent to the March 14, 2023 extension confirms that Plaintiff would suffer

no prejudice from the extension.

       8.      No extensions have previously been sought in this case.          As stated above,

Defendants have conferred with Plaintiff’s counsel, who does not oppose the requested extension.

       THEREFORE, for the reasons stated above, Defendants request that the Court grant this

unopposed motion and enter an order extending the time for Defendants to answer or otherwise

respond to the Complaint until March 14, 2023. A proposed order is attached.

       Respectfully submitted this 10th day of February, 2023.

                                                     /s/ Ursula M. Henninger
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                                                     Attorney for Tesla, Inc. and Tesla
                                                     Lease Trust




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  By filing this motion, Defendants do not concede that Plaintiff’s claims were properly brought
in this Court and expressly reserve the right to move to compel arbitration of some or all of
Plaintiff’s claims.

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                                 CERTIFICATE OF SERVICE

          I hereby certify that on this date, a true and correct copy of the foregoing DEFENDANTS

TESLA, INC. AND TESLA LEASE TRUST’S UNOPPOSED MOTION TO EXTEND

DEADLINE TO RESPOND TO COMPLAINT was filed with the Clerk of Court using the

CM/ECF system, which automatically sends e-mail notification of such filing to all attorneys of

record.

          This 10th day of February, 2023.

                                                               /s/ Ursula M. Henninger




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